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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
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                               March 26, 2024


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      No. 24-50180       Natl Infusion Center v. Becerra
                         USDC No. 1:23-CV-707
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Dear Mr. Bifulco, Ms. Edwards, Mr. Elwood, Mr. Kolber, Mr.
Krist, Ms. Pollard,
We have docketed the appeal as shown above, and ask you to use the
case number for future inquires. You can obtain a copy of our
briefing checklist on the Fifth Circuit’s website
"http://www.ca5.uscourts.gov/docs/default-source/forms-and-
documents---clerks-office/rules/brchecklist".
Briefing Notice: The record is complete for purposes of the appeal,
see Fed. R. App. P. 12. Appellant’s brief and record excerpts are
due within 40 days of the date shown above, see Fed. R. App. P. &
5th Cir. R. 28, 30, and 31. See also 5th Cir. R. 30.1.2 and 5th
Cir. R. 31.1 to determine if you have to file electronic copies of
the brief and record excerpts. [If required, electronic copies
MUST be in Portable Document Format (PDF).]
Record Excerpts: 5th Cir. R. 30.1.7(c) provides that the electronic
PDF version of the record excerpts should contain pages
representing the "tabs" identified in the index of the document.
However, we remind attorneys that the actual paper copies of record
excerpts filed with the court must contain actual physical tabs
that extend beyond the edge of the document, to facilitate easy
identification and review of tabbed documents.
Brief Covers: THE CASE CAPTION(S) ON BRIEF COVERS MUST BE EXACTLY
THE SAME AS THE CASE CAPTION(S) ON THE ENCLOSED TITLE CAPTION
SHEET(S). YOU WILL HAVE TO CORRECT ANY MODIFICATIONS YOU MAKE TO
THE CAPTION(S) BEFORE WE SUBMIT YOUR BRIEF TO THE COURT.
Policy on Extensions: The court grants extensions sparingly and
under the criteria of 5th Cir. R. 31.4.        If you request an
extension, you must contact opposing counsel and tell us if the
extension is opposed or not. 5th Cir. R. 31.4 and the Internal
Operating Procedures following rules 27 and 31 state that except
in the most extraordinary circumstances, the maximum extension for
filing briefs is 30 days in criminal cases and 40 days in civil
cases.
Reply Brief: We do not send cases to the court until all briefs
are filed, except in criminal appeals. Reply briefs must be filed
within the 21 day period of Fed. R. App. P. 31(a)(1). The court
greatly disfavors all extensions of time for filing reply briefs.
See 5th Cir. R. 31.1 to determine if you have to file electronic
copies of the brief, and the format.
Dismissal of Appeals: The clerk may dismiss appeals without notice
if you do not file a brief on time, or otherwise fail to comply
with the rules.
Appearance Form: If you have not electronically filed a "Form for
Appearance of Counsel," you must do so within 14 days of this date.
You must name each party you represent, See Fed. R. App. P. and
5th Cir. R. 12. The form is available from the Fifth Circuit’s
website, www.ca5.uscourts.gov.
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
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these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
VIDEO/AUDIO EXHIBITS: If this record contains exhibits (e.g. Dash
cam or Body cam videos) that must be submitted to the court’s
attention, you must provide them to the District Court in MP4
format for submission to our court.
Guidance Regarding Citations in Pleadings.
5th Cir. R. 28.2.2 grants the Clerk the authority to create a
standard format for citation to the electronic record on appeal.
You must use the proper citation format when citing to the
electronic record on appeal.
  A. In single record cases, use the short citation form, "ROA"
     followed by a period, followed by the page number.     For
     example, "ROA.123."
  B. For multiple record cases, cite "ROA" followed by a period,
     followed by the Fifth Circuit appellate case number of the
     record referenced, followed by a period, followed by the
     page of the record. For example, "ROA.13-12345.123.".
  C. Please note each individual citation must end                  using   a
     termination of a period (.) or semicolon (;).
Pro se litigants may request the record from the district court to
prepare their brief.     Those proceeding in forma pauperis may
receive the record without payment of shipping costs. If you wish
to receive exhibits, you must specifically request them.
Once you obtain the record, you should check it within 14 days of
receipt for any missing or incomplete items.       If you need to
request a supplemental record or order transcripts, do so promptly.
The court will not grant extensions of time to file your brief
because you did not timely check the record.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
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excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk
                                By: _/s/ Renee McDonough__
                                Renee McDonough, Deputy Clerk
                                504-310-7673
Enclosure(s)
cc w/encl:
     Ms. Catherine Meredith Padhi
     Mr. Stephen Michael Pezzi
     Ms. Lindsey E. Powell
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                            Case No. 24-50180




National Infusion Center Association, on behalf of itself and
its members; Global Colon Cancer Association, on behalf of
itself and its members; Pharmaceutical Research and
Manufacturers of America, on behalf of itself and its members,
                       Plaintiffs - Appellants
v.
Xavier Becerra, Secretary, U.S. Department of Health and Human
Services; United States Department of Health and Human Services;
Chiquita Brooks-Lasure, In Her Official Capacity as
Administrator of the Centers for Medicare and Medicaid Services;
Centers for Medicare and Medicaid Services,
                       Defendants - Appellees
